Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 1 of 14




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                              CASE NO.:

 WINDY LUCIUS,

         Plaintiff,

 v.

 CHARLES ST. LLC

         Defendant.
                                                                 /

                              COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff Windy Lucius (“Plaintiff”) hereby sues Defendant Charles St. LLC

 (“Defendant”), a Florida limited liability company, for Injunctive Relief, attorney’s fees, litigation

 expenses and costs pursuant to Title III of the Americans with Disabilities Act of 1990, as amended,

 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

         1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

 Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

 occurred in this District.

         2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

 original jurisdiction over actions which arise from Defendant’s violations of Title III of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

         3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

 as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member

 of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the regulations implementing the

 ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is substantially
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 2 of 14




 limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

 §36.105(b)(2).

        4.        Plaintiff uses the internet and a mobile device to help her navigate a world of goods,

 products and services like the sighted. The internet, websites and mobile applications provide her

 a window into the world that she would not otherwise have. She brings this action against

 Defendant for offering and maintaining a mobile website (software that is intended to run on

 mobile devises such as phones or tablet computers) that is not fully accessible and independently

 usable by visually impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver

 software to read computer materials and/or access and comprehend internet mobile website

 information which is specifically designed for the visually impaired.

        5.        Plaintiff is also an advocate of the rights of similarly situated disabled persons and

 is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

 whether places of public accommodation and/or their mobile websites are in compliance with the

 ADA.

        6.        Defendant owns and operates an upscale organic/fresh American cuisine specialty

 restaurant branded as “Orange Blossom.” The Orange Blossom restaurant is located within Miami-

 Dade County at 2000 Collins Avenue, Miami Beach, Florida 33139 and is open to the public. As

 such, it is a Place of Public Accommodation subject to the requirements of Title III of the ADA

 and its implementing regulation as defined by 42 U.S.C. §12181(7)(B), §12182, and 28 C.F.R.

 §36.104(2). The Orange Blossom restaurant is also referenced throughout as “place of public

 accommodation,” “Orange Blossom restaurant,” or “restaurant.”

        7.        Defendant is defined as a “Public Accommodation" within meaning of Title III

 because Defendant is a private entity which owns and/or operates “[A] restaurant, bar, or other




                                                    2
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 3 of 14




 establishment serving food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

          8.       Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

 constructed, the https://orangeblossommiami.com mobile website (hereinafter “mobile website”)

 for the general public to access on their mobile devices (phones, tablets). This mobile website

 supports, is an extension of, is in conjunction with, is complementary and supplemental to,

 Defendant’s Miami Beach Orange Blossom restaurant. The mobile website delineates the goods,

 services, accommodations, privileges, benefits and facilities available to patrons at the restaurant’s

 physical location.

          9.       The mobile website is offered by Defendant as a way for the public to become

 familiar with the Orange Blossom organic menu selections, information on hours of operation,

 restaurant location, provides a link to reserve a table for dining within the restaurant, provides a

 link to contact the restaurant for private parties and events, and provides other information

 Defendant seeks to communicate to the public. The mobile website also enables the public/patrons

 to place an order online and have the order ready for pick up at the restaurant. By the provision of

 menu selection, reservation services, to-go order selection, and the ability to set up a private group

 event online, the mobile website is an integral part of the goods and services offered by Defendant.

 By this nexus, the mobile website is characterized as a Place of Public Accommodation to Title III

 of the ADA1, 42 U.S.C. §§ 12181(7)(B).

          10.      Defendant’s mobile website allows mobile device users to use a mobile platform

 through a connection to Wi-Fi or cellular data so that users can manage their dining choice from


 1
   “The Department of Justice has long taken the position that both State and local government Websites and the
 websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
 entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
 accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
 General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
 Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
 Presented on February 7, 2012.


                                                           3
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 4 of 14




 their mobile device. As such, it has subjected itself to the ADA because its mobile website is

 offered as a tool to promote, advertise and sell its products and services from its brick-and-mortar

 restaurant location which is a place of public accommodation. As a result, Defendant’s mobile

 website must interact with its restaurant and the public, and in doing so must comply with the

 ADA, which means it must not discriminate against individuals with disabilities and may not deny

 full and equal enjoyment of the goods and services afforded to the general public. 2

         11.      Defendant’s mobile website does not properly interact with the VoiceOver screen

 reader software technology in a manner that allows blind and visually impaired individuals to

 comprehend the mobile website and does not provide other means to accommodate blind and

 visually impaired individuals.

         12.      Like the seeing community, Plaintiff would like the opportunity to be able to use

 Defendant’s mobile website to comprehend Orange Blossom’s menu selections, make reservations

 to dine in the restaurant, to order food online for pick up at the restaurant, and to inquire for private

 parties/groups. However, unless Defendant is required to eliminate the access barriers at issue and

 required to change its policies so that access barriers do not reoccur, Plaintiff will continue to be

 denied full and equal access to the mobile website as described and will be deterred from fully

 using Defendant’s mobile website or dining at Defendant’s restaurant in Miami Beach, Florida.

         13.      Plaintiff is continuously aware of the violations on Defendant’s mobile website and

 is aware that it would be a futile gesture to attempt to utilize the mobile website as long as those

 violations exist unless she is willing to suffer additional discrimination.

         14.      Defendant and alike restaurants are fully aware of the need to provide full access



 2
  According to Statista, almost half of web traffic in the United States originated form mobile devices in 2021.
 Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
 website and provided accessibility for blind users.


                                                        4
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 5 of 14




 to all visitors to its mobile website as such barriers result in discriminatory and unequal treatment

 of individuals with disabilities who are visually impaired and result in punishment and isolation

 of blind and low vision individuals from the rest of society.

         15.    Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

 alleged herein and this action is her only means to secure adequate redress from Defendant’s

 discriminatory practice.

         16.    Notice to Defendant is not required as a result of Defendant’s failure to cure the

 violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

 2202.

         17.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

 Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

 cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

 costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR §36.505.

                   COUNT I – VIOLATIONS OF TITLE III OF THE ADA

         18.    The ADA requires that Public Accommodations (and Places of Public

 Accommodation) are required to ensure that communication is effective, which includes the

 provision of auxiliary aids and services for such purpose.

         19.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

 “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

 36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

 making visually delivered material available to individuals who are blind or have low vision.

         20.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

 must furnish appropriate auxiliary aids and services where necessary to ensure effective




                                                  5
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 6 of 14




 communication with individuals with disabilities. “In order to be effective, auxiliary aids and

 services must be provided in accessible formats, in a timely manner, and in such a way as to protect

 the privacy and independence of the individual with a disability.”

        21.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

 subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

 public accommodations and requires places of public accommodation to be designed, constructed,

 and altered in compliance with the accessibility standards established by Part 36.

        22.     Defendant’s mobile website has been designed to integrate with its Orange Blossom

 brick-and-mortar restaurant through provision of a reservation service and the provision of a to-go

 order menu and option. Therefore, the mobile website is an extension of Defendant's Place of

 Public Accommodation. By and through its mobile website, Defendant extends its Place of Public

 Accommodation into individual persons' homes and portable devices wherever located. The

 mobile website is a service, facility, privilege, advantage, benefit and accommodation of

 Defendant's Place of Public Accommodation. As such, Defendant’s mobile website is integrated

 with, and is a nexus to, its brick-and-mortar location. Therefore, it is governed by the following

 provisions:

                a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

 against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

 privileges, advantages, or accommodations of any place of public accommodation by any person

 who owns, leases (or leases to), or operates a place of public accommodation.”

                b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

 subject an individual or class of individuals on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements, to a denial




                                                   6
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 7 of 14




 of the opportunity of the individual or class to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

 to afford an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with the

 opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

 accommodation that is not equal to that afforded to other individuals[.]”

                 d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

 to provide an individual or class of individuals, on the basis of a disability or disabilities of such

 individual or class, directly, or through contractual, licensing, or other arrangements with a good,

 service, facility, privilege, advantage, or accommodation that is different or separate from that

 provided to other individuals, unless such action is necessary to provide the individual or class of

 individuals with a good, service, facility, privilege, advantage, or accommodation, or other

 opportunity that is as effective as that provided to others[.]”

                 e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

 privileges, advantages, and accommodations shall be afforded to an individual with a disability in

 the most integrated setting appropriate to the needs of the individual.”

                 f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

 of separate or different programs or activities provided in accordance with this section, an

 individual with a disability shall not be denied the opportunity to participate in such programs or

 activities that are not separate or different.”

                 g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

 make reasonable modifications in policies, practices, or procedures, when such modifications are




                                                   7
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 8 of 14




 necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

 individuals with disabilities, unless the entity can demonstrate that making such modifications

 would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

 accommodations[.]”

                h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

 take such steps as may be necessary to ensure that no individual with a disability is excluded,

 denied services, segregated or otherwise treated differently than other individuals because of the

 absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

 would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

 accommodation being offered or would result in an undue burden[.]”

         23.    Plaintiff attempted to access and/or utilize Defendant's mobile website, but was

 unable to, and she continues to be unable to enjoy full and equal access to the mobile website

 and/or understand the content therein because numerous portions of the mobile website do not

 interface with mobile VoiceOver screen reader software. Specifically, features of the mobile

 website that are inaccessible to VoiceOver screen reader software users include, but are not limited

 to, the following (citing the WCAG 2.1 Level A and AA Guidelines):

    i.   Guideline 1.1.1 Non-Text Content is violated. When a mobile VoiceOver screen reader
         software user opens a product on the “Online Order” page, a long string of numbers and
         characters is announced. The “number gibberish” announcement is without specific
         meaning therefore impedes navigation and causes confusion to mobile VoiceOver screen
         reader software users since they cannot ascertain/understand what is being announced.

   ii.   Guideline 1.3.1 Info and Relationships is violated. Accessibility issues are present in the
         PDF menu as the content in the Dinner Menu PDF is not announced in order. For example,
         after the third appetizer is announced, focus moves to products in the Salad section without
         announcing that a user has moved to the Salad section from the Appetizer section. Focus
         then moves to the second to the last option in the 'Pasta & Risotto' section. Focus continues
         to skip randomly across the PDF menu.

  iii.   Guideline 1.3.2 Meaningful Sequence is violated. Content must be presented in a
         meaningful order, and this is violated. Some of the content in the Cocktails menu PDF is


                                                   8
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 9 of 14




        not announced. For example, after the description for Orange Blossom Sangria is
        announced, focus skips the Mojito name and moves directly to the description. For mobile
        VoiceOver screen reader software users, it appears that the description is a continuation of
        the Sangria drink description.

  iv.   Guideline 2.4.3 Focus order is violated. The site is required to provide focus in a logical
        order, and this has been violated. For example, after a mobile VoiceOver screen reader
        software users press the View Cart button, a checkout popup is displayed, but that popup
        is not announced. Instead, focus remains on the underlying page and the mobile VoiceOver
        screen reader software user must swipe through all of the footer links before focus moves
        to the popup.

   v.   Guideline 2.4.6 Headings and Labels is violated. The content in the Wines PDF is
        announced in such a way that makes it impossible for a mobile VoiceOver screen reader
        software users to understand the pricing. This violation occurs for several wine products;
        a mobile VoiceOver screen reader software user hears the name of the wine, but the price
        of the wine is not be announced for several swipes. For example, after the Cabernet
        Sauvignon Caymus wine is announced, the price is not announced until the mobile
        VoiceOver screen reader software user swipes to the bottom of the list. At that point, the
        mobile VoiceOver screen reader software user has no way of knowing/understanding that
        the "$150" price announcement is for the Cabernet Sauvignon Caymus wine that had been
        announced multiple swipes previously.

  vi.   Guideline 3.1.1 Language of Page is violated. The default language is in French and a
        language selector is not announced.

 vii.   Guideline 4.1.2 Name, Role, Value is violated. All elements must be built for accessibility
        and this is not the case. The carousel at the top of the online order form is not accessible.
        For example, if a mobile VoiceOver screen reader software user selects the second item in
        the carousel (Fruits), the Fruit section is immediately displayed, but focus does not move
        to it. When a mobile VoiceOver screen reader software user tries to swipe to the Fruit items
        that have just been displayed, the section automatically changes to show the Avocado Toast
        menu items (again, though they had been previously shown). Each time a mobile
        VoiceOver screen reader software user selects a different type of food from the carousel, a
        sighted person is able to “see” the list of products but for the mobile VoiceOver screen
        reader software user, focus does not move to the section shown, the content is not
        announced, and the list of items disappears before the mobile VoiceOver screen reader
        software users can swipe to them.

        24.     As the owner and/or operator of the Orange Blossom restaurant mobile website,

 Defendant is required to comply with the ADA and the provisions cited above. This includes

 Defendant’s obligation to create and maintain a mobile website that is accessible to and usable by

 visually impaired persons so that they can enjoy full and equal access to the mobile website and



                                                 9
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 10 of 14




  the content therein, including the ability to make a reservation to dine within the Orange Blossom

  restaurant and to order food online for pick up at the restaurant.

         25.     With respect to its mobile website, Defendant has violated the ADA by failing to

  interface its mobile website with VoiceOver screen reader software utilized by visually impaired

  individuals (as specifically delineated within paragraph 23) either directly or through contractual,

  licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

  Plaintiff accommodation on the basis of her disability:

                 a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

  12182(b)(1)(A)(i));

                 c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals (unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the




                                                    10
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 11 of 14




  disabled individual (42 U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

         26.     Plaintiff is continuously aware of the violations within Defendant's mobile website

  and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

  those violations exist unless she is willing to suffer additional discrimination.

         27.     Plaintiff is well aware that the ADA requires effective communications. However,

  long after the required date of compliance, many public accommodations refuse to comply leaving

  Plaintiff feeling excluded and rejected because she is disabled. As a result, Plaintiff has suffered

  frustration and humiliation as the result of the discriminatory conditions present within Defendant's

  mobile website. By continuing to operate its mobile website with discriminatory conditions,




                                                   11
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 12 of 14




  Defendant contributes to Plaintiff's sense of isolation and segregation and deprives Plaintiff the

  full and equal enjoyment of the goods, services, facilities, privileges and/or accommodations

  available to the general public. By encountering the discriminatory conditions within Defendant's

  mobile website and knowing that it would be a futile gesture to attempt to utilize the mobile

  website unless she is willing to endure additional discrimination, Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same accommodations readily available to

  the general public and is deterred and discouraged from doing so. By maintaining a mobile website

  with violations, Defendant deprives Plaintiff the equality of opportunity offered to the general

  public.

            28.   Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA and conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

            29.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

  reasonable grounds to believe that she will continue to be subjected to discrimination in violation

  of the ADA by Defendant when she visits the website to test for compliance with the ADA.

  Plaintiff desires to access the mobile website to avail herself of the benefits, advantages, goods

  and services therein, and/or to assure herself that this mobile website is in compliance with the

  ADA so that she and others similarly situated will have full and equal enjoyment of the mobile

  website without fear of discrimination.

            30.   Plaintiff is without adequate remedy at law and has suffered irreparable harm. The

  Plaintiff and all others similarly situated will continue to suffer such discrimination, injury and

  damage without the immediate relief as requested herein.




                                                   12
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 13 of 14




         31.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require Defendant to alter its mobile website to make it

  readily accessible to and usable by Plaintiff and other persons with vision impairments.

         WHEREFORE Plaintiff Windy Lucius hereby demands judgment against Defendant

  Charles St. LLC and requests the following injunctive and declaratory relief:

         a.      The Court issue a Declaratory Judgment that determines that Defendant's mobile

                 website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                 § 12181 et seq.;

         b.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                 failing to monitor and maintain its mobile website to ensure that it is readily

                 accessible to and usable by persons with vision impairment;

         c.      The Court issue an Order directing Defendant to alter its mobile website to make it

                 accessible to, and useable by, individuals with disabilities to the full extent required

                 by Title III of the ADA;

         d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                 such that individuals with visual impairments will be able to effectively

                 communicate with the mobile website for purposes of comprehending Defendant’s

                 Orange Blossom organic food menu selections, making reservations and inquiring

                 about private parties/events, and to order food online to pick up at that restaurant,

                 and during that time period prior to the mobile website’s being designed to permit

                 individuals with visual impairments to effectively communicate, requiring

                 Defendant to provide an alternative method for individuals with visual impairments

                 to effectively communicate so that disabled individuals are not impeded from




                                                   13
Case 1:22-cv-21017-BB Document 1 Entered on FLSD Docket 04/04/2022 Page 14 of 14




               obtaining the goods and services made available to the public through Defendant’s

               mobile website.

        e.     The Court enter an Order directing Defendant to evaluate and neutralize its policies

               and procedures towards persons with disabilities for such reasonable time so as to

               allow Defendant to undertake and complete corrective procedures;

        f.     The Court enter an Order directing Defendant to continually update and maintain

               its mobile website to ensure that it remains fully accessible to and usable by visually

               impaired individuals;

        g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

               U.S.C. § 12205; and,

        h.     The Court provide such other relief as the Court deems just and proper, and/or is

               allowable under Title III of the Americans with Disabilities Act.


  Dated: April 4, 2022
                                              Respectfully submitted,

                                              /s/ J. Courtney Cunningham
                                              J. Courtney Cunningham, Esq.
                                              J. COURTNEY CUNNINGHAM, PLLC
                                              FBN: 628166
                                              8950 SW 74th Court, Suite 2201
                                              Miami, Florida 33156
                                              Telephone: 305-351-2014
                                              cc@cunninghampllc.com




                                                 14
